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                 Exhibit B
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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                      EASTERN DISTRICT OF PENNSYLVANIA

   IN RE: NATIONAL FOOTBALL LEAGUE
       PLAYERS’ CONCUSSION INJURY
                 LITIGATION
  Kevin Turner and Shawn Wooden, on behalf of
     themselves and others similarly situated,                     No. 2:12-md-02323-AB
                     Plaintiffs                                       MDL No. 2323
                         v.
  National Football League and NFL Properties,
  LLC, successor-in-interest to NFL Properties,
                       Inc.,
                   Defendants.
       THIS DOCUMENT RELATES TO:
                 ALL ACTIONS


                         DECLARATION OF JENNIFER J. MANLY

       I, Jennifer J. Manly, Ph.D., declare:

       1. I am a tenured Professor of Neuropsychology in Neurology at the Gertrude H. Sergievsky

Center and the Taub Institute for Research on Alzheimer’s Disease and the Aging Brain at

Columbia University, where I have been on faculty since 1998. I completed my graduate training in

clinical psychology, within the neuropsychology track, at the San Diego State University/University

of California at San Diego Joint Doctoral Program in Clinical Psychology. After a clinical internship

at Brown University, I completed a postdoctoral fellowship at Columbia University. I am a licensed

psychologist in New York state. My research on social, medical, and genetic factors that increase risk

or promote resilience to cognitive aging and Alzheimer’s Disease among African Americans and

Hispanics has been funded by the National Institute on Aging and the Alzheimer’s Association. I

have authored over 220 peer-reviewed publications and 10 chapters. I was awarded the Early Career

Award from Division 40 of the American Psychological Association in 2002 and the Early Career

Award from the National Academy of Neuropsychology in 2006, and in 2004 I was elected a Fellow

of the APA. I served on the US Department of Health and Human Services Advisory Council on
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Alzheimer's Research, Care and Services from 2011 to 2015, and was a member of the Alzheimer’s

Association Medical & Scientific Research Board from 2012 - 2019. I am currently serving on the

National Advisory Council to the National Institute on Aging at NIH, and am a member of the

National Academy of Sciences, Engineering, and Medicine Committee on Population. I held

multiple roles on the Board of Governors of the International Neuropsychological Society, including

Continuing Education Chair, Member-at-Large, and Publications Chair. I was an Associate Editor at

the Journal of the International Neuropsychological Society from 2005 to 2014, and have served as

consulting editor for many other journals including The Clinical Neuropsychologist,

Neuropsychology, and Psychology and Aging. My credentials and publications are more fully set

out in my curriculum vitae attached as Exhibit 1 to this Declaration.

       2. Much of my professional work aims to improve the diagnostic accuracy of

neuropsychological tests when used to detect mild cognitive impairment, dementia, and Alzheimer's

Disease among African American and Hispanic older adults. This work clarifies the independent

influences of early life socioeconomic factors, language use and bilingualism, acculturation,

educational experiences, literacy, racism, and adult occupational opportunities on cognitive test

performance, with the ultimate goal of understanding more about the pathways between racially

patterned social factors, cognitive test performance, and brain health. I have been a leader in

addressing the problem of misdiagnosis or misclassification of African Americans through

examination of the role of lifecourse social factors that influence neuropsychological test

performance in African Americans with and without cognitive impairment. The analysis of these

social factors set a new standard in neuropsychology for accounting for quality of education, not just

quantity of formal schooling.

       3. I have been retained by Zuckerman Spaeder LLP at my standard rate for consulting to

provide advice concerning the use of race-specific norms in neuropsychological tests performed to



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determine eligibility for benefits under the Settlement Agreement entered in the NFL concussion

litigation. The opinions in this Declaration are based on my training and experience.

        4. I have reviewed Dr. Millis’s Declaration. While I agree with Dr. Millis that

demographically matched norms have a role to play in the diagnosis of neurological disease or injury,

I do not agree that an adequate scientific foundation has been established for applying the available

race-specific norms to interpret neuropsychological testing in the medico-legal context of the NFL

Concussion Settlement. As I understand it, the neuropsychological tests administered under Exhibit

A-2 of the Settlement Agreement are used to determine whether a retired NFL player has a

“Qualifying Diagnosis” of Neurocognitive Impairment Level 1.5 or Level 2.0. “Qualifying

Diagnosis” is a legal term defined in the Settlement Agreement, and is not medical diagnostic

category. The results of the neurocognitive tests are not used to determine a retired player’s medical

treatment, nor would they be relied upon exclusively to ascertain a retired player’s current abilities

and likely progressive decline. Neuropsychological test norms are used in clinical or research settings

to help determine if an individual’s test scores are consistent with acquired cognitive impairment and

the relative severity of the impairment. Demographic norms are used so that we can compare an

individual’s current cognitive test performance to our best estimate of the person’s prior

functioning. In the clinical setting, the results of cognitive tests are used in the context of other

sources of data to determine a diagnosis. Dr. Millis states that use of race-specific norms is a

commonly-accepted neuropsychological clinical practice; however, it is not commonly accepted

practice to use norms that have not been validated and rigorously evaluated to be appropriate in the

population in which they will be used. It is not commonly accepted practice to assume that

normative data is adequate for the individual being tested, especially if the norms are 25 years

outdated, are regionally specific, may include small numbers of Black men with college degrees.

Given the context that neuropsychological tests are used under the NFL Settlement Agreement, the



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normative standardization sample must be appropriate for use among NFL retirees, and there

should be empirical evidence of the precision of the tests and norms for detection of impairment in

this cohort. In my opinion, the use of race-specific norms in this context does not meet these

necessary standards for scientific rigor.

         5. I agree with Dr. Millis (¶ 28) that the racial disparity observed in neuropsychological

testing “is widely understood to be the product of factors other than race.” Much of my own

professional work has involved identifying those factors1; in fact, Dr. Millis cites a number of articles

concerning that body of research of which I am the lead or co-author in his Declaration. Because

race has been used as a variable in neuropsychological test norms as a proxy for other factors, as Dr.

Millis notes, applying race-specific norms to retired NFL players who are eligible to seek benefits

under the NFL Concussion Settlement is only appropriate if the populations used to develop the

race-specific norms are representative of the individual or the specific population. That is, a retired

player’s self-identified race is not the only variable to consider to determine if race-specific norms

are appropriate. 2 Race-specific norms that did not include representatives of the population that

and individual belongs to, may be no more accurate, or less accurate, than any other set of norms




1
  “Race and ethnicity are surrogates for other relevant variables whose effect on cognition and test performance
are more direct. If we explicitly measure these behavioral, attitudinal, experiential, and psychological factors that
underline racial classifications, we take advantage of this variability and improve our understanding of the role of race
and culture on cognitive test performance. These variables, not race, account for the differences
between African Americans and Whites on neuropsychological tests, and can inform us in future development of new
measures that improve diagnostic accuracy and validity in multicultural populations.” Jennifer J. Manly, Advantages and
Disdavantages of Separate Norms for African Americans, 19 The Clinical Neuropsychologist 270, 273 (2005) (Manly
2005).
2 “Whether race-based norms should be used for the assessment of an individual patient is contingent on

a number of factors. The clinician must have a good understanding of the patient’s educational and cultural background
and experience. Do these experiences match with those of the normative group? Are there normative data sets that more
similarly match the patient’s background and experience, even if not including race or ethnicity? Regardless of the
patient’s race or ethnicity, clinicians should not consider neuropsychological test scores in isolation. That is, a test score,
regardless of the normative group used to determine it, reflects one aspect of the patient’s presentation and should be
interpreted in the context of a detailed qualitative assessment (Ethical Standard 9.01, Bases for Assessments, subsection
a). In this vein, it would not be inappropriate to report scores derived from multiple normative data sets and explore the
possible implications of discrepancies in a clinical evaluation report.” Adam M. Brickman, et al., Ethical Issues in Cross-
Cultural Neuropsychology, 13 Applied Neuropsych. 91, 95 (2006)


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that do not include race as a demographic variable. Even in a clinical setting, “[a]ny

neuropsychologist who compares a patient’s test performance to a normative data set should

question whether the norms used are appropriate for the patient. Criteria for this determination

might include consideration of the time in history the norms were created; whether an adequate

number of subjects was included; and, most importantly, that the normative data are appropriately

stratified in ways that best capture demographic factors that contribute to performance on the test.”

Adam Brickman, et al., Ethical Issues in Cross-Cultural Neuropsychology, 13 Applied

Neuropsychology 91, 93-94 (2006).

         6. As Holdnack and Weiss explain in their chapter on demographic adjustments to the

WAIS-IV (including tests used under the Settlement Agreement), “racial/ethnic status cannot be

determined by any scientific means and it may not be possible to accurately classify an individual

client.”3 Dr. Millis agrees with this statement, and yet he argues that any available race-specific

norms are the best choice for precisely measuring the presence or severity of impairment, regardless

of consideration of whether the player’s background is similar to the people who were included in

the normative sample. Many researchers have discussed the danger of assuming that race-specific

standards are appropriate in all cases, in part because these practices reify race as a biological

construct (and not as the a social construct that it is4), they fail to recognize the racism and racial

capitalism that have led to racial disparities in health, and because many race-corrections lack rigor,

they may amplify health inequalities (Dorothy Roberts, Fatal invention: How science, politics, and

big business re-create race in the twenty-first century; 2011). As the Special Masters’ decision in the

Davenport appeal notes, the Manual for the WAIS also warns that “[c]aution is warranted when

using norms adjusted for racial/ethnic group differences, as scores may be misunderstood or


3 James A. Holdnack & Larry G. Weiss, Demographic Adjustments to WAIS-IV/WMS-IV Norms, in WAIS IV, WMS-

IV, and ACS, Advanced Clinical Interpretation 171, 199 (James A. Holdnack et al., eds. 2013).
4 “[R]ace is a construct that lacks scientific basis.” Manly (2005) at 272.




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inappropriately interpreted. No scientific models exist for accurately identifying race and ethnicity

(i.e., these are primarily social/political constructs).” SM Dec 8 (quoting N.C.S. Pearson, Advanced

Clinical Solutions for WAIS-IV and WMS-IV: Clinical and Interpretive Manual (2009)). Although in

the United States a person of mixed racial ancestry may identify as Black or African American, there

is no scientific principle that would assign that individual to one race or another. “Proponents of

the utilization of race-based norms need to explicitly highlight that the norms are not created as a

claim of biological differences among groups; instead, race, like age or gender, is a strong correlate

of other factors that impact performance but not an inherent cause of cognitive performance.”

Brickman, et al., at 94. The apparent or self-identified ancestry of an individual may or may not

correlate with the differences in culture and educational opportunity that have been shown to

account for racial differences. For that reason, it is important to apply considerable scrutiny of the

norms and provide a clear, empirically-based justification before deciding on a normative standard

for people who are traditionally underrepresented in neuropsychological research and testing. The

WAIS Manual cautions, “the use of race/ethnicity in normative data ignores the underlying cultural,

health and educational factors that result in disparities in test performance; subsequently,

adjustments are made on group membership, which may not fully represent the experiences and

characteristics of a specific individual.” SM Dec 8 (quoting N.C.S. Pearson, Advanced Clinical

Solutions for WAIS-IV and WMS-IV: Clinical and Interpretive Manual (2009)). In fact, White and

Black retired NFL players may be more similar to each other than they are to the reference

populations in the standardization samples used to develop Heaton or WAIS/WMS race-specific

norms. Before norms are applied to any individual, empirical evidence must show that use of these

norms improves diagnostic accuracy in the specific population of which that individual is a member.

I am not aware of any published studies showing that diagnostic accuracy of cognitive impairment

among Black and White retired NFL players is improved by applying different norms to interpret



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neuropsychological test scores on the basis of a retired player’s racial identification, and Dr. Millis

does not present any such data.

        7. Apart from whether there is a scientific basis to apply different interpretive standards to

retired NFL players on the basis of race, there is the question whether people with backgrounds

similar to Black retired NFL players are sufficiently well-represented within the populations used to

generate the race-specific norms. Dr. Millis does not present any data about that question, and I am

not aware of any published study addressing it. Taking the Heaton norms in particular, they were

created by recruiting Black residents of San Diego in the 1990s (Robert K. Heaton, et al., Revised

Comprehensive Norms for an Expanded Halstead-Reitan Battery: Demographically Adjusted

Neuropsychological Norms for African American and Caucasian Adults Professional Manual 7,

2004) (“almost all of the African American participants were recruited specifically for this norming

project, using a census- based survey method designed to provide a representative sample of

neurologically normal participants from the San Diego area.”). We are not provided enough

information to know how representative this sample of San Diego residents is of Black Americans

right now, or even at the time the norms were collected (approximately 25 years ago). While a

representative sample of African Americans was the goal of the Heaton et al. project, use of these

norms in the Settlement should require verification of whether census-matching was achieved, as

well as a comprehensive understanding of how the methods employed to recruit enough people in

to specific demographic classifications (e.g., middle aged Black men with college degrees), might

have differed from the methods used to recruit other subgroups. Different recruitment methods

may create ascertainment bias, which has been shown to have significant impact on cognitive test

performance and racial differences in cognitive trajectory. (Carey E. Gleason, et al, Association

between enrollment factors and incident cognitive impairment in Blacks and Whites: Data from the

Alzheimer's Disease Center, 15 Alzheimer’s & Dementia. 1533-45; 2019). Several factors call into



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question whether the African American cohort who participated in the Heaton norms project is

representative of retired NFL players being tested under the Settlement. One particularly important

factor is that Black retired NFL players are likely to have had very different educational

opportunities than Black San Diego residents who were recruited and tested approximately 25 years

ago. A 50-year old San Diego resident tested in 1995 was more likely to have attended segregated

schools for most or all of their education, and the quality of those schools are likely to have differed.

In addition, there are known geographic variations in neuropsychological test performance among

neurologically normal people, which suggest that African American San Diego residents may not be

an appropriate normative standard for all Black Americans (Alfred Sellers, et al, Differences in

Young Children's IQs on the Wechsler Preschool and Primary Scale of Intelligence-Revised as a

Function of Stratification Variables, 9 Applied Neuropsychology 65-73, 2002; M. Maria Glymour &

Jennifer J. Manly, Lifecourse Social Conditions and Racial and Ethnic Patterns of Cognitive Aging,

18 Neuropsychology Rev. 223-254b, 2008; Melissa Lamar, et al, Relationship of Early-Life

Residence and Educational Experience to Level and Change in Cognitive Functioning: Results of

the Minority Aging Research Study, 75 J. of Gerontology e81-e92, 2020). In addition, secular

changes should be taken in to account when applying neuropsychological test norms in order to

improve their accuracy (Rhoda Au, et al, New Norms for a New Generation: Cognitive Performance

in the Framingham Offspring Cohort, Experimental Aging Research 333-358, 2010) (“continued

surveillance of each generation is necessary to document the impact that unique social and economic

variables have on cognitive function.”). Dr. Millis does not present data that justifies the assumption

that the participants in the Heaton norms are a good fit for the Black players being tested under the

NFL Concussion Settlement, other than that they are Black.

        9. Dr. Millis’s central argument is that “it was and is widely-used and commonly-accepted

neuropsychological clinical practice to consider demographic factors, including race, when assessing



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premorbid intellectual functioning, and in choosing normative adjustments to scale an individual’s

raw scores on cognitive tests.” I agree, but Dr. Millis fails to acknowledge that testing in the context

of this settlement bears little resemblance to common neuropsychological practice, and due to the

way that neuropsychological tests are being used in the Settlement, the highest degree of rigor and

precision should be required of the neuropsychological tests. In a clinical setting, neuropsychological

test results would be one component of a comprehensive clinical assessment that would also take

into account other available information about the individual’s prior function and experiences. A

clinician attempting to determine if a patient had cognitive decline would consider the results of

neurocognitive tests along with other information about the patient’s level of neurocognitive

functioning at an earlier period of time. In contrast, under the Settlement, a retired player can be

ruled out as eligible if, independent of all other considerations, he does not meet the statistical

criteria in the Table in Exhibit A-2, which establishes specific numerical cutoffs for each test using

T-scores derived with demographically specific norms and requires that (at least) 2 or more tests

within each domain are below these cutoffs. In my opinion, the currently available race-specific

norms lack the precision that is required for them to be used in this manner. To my knowledge, the

data used to develop race-specific norms for the measures approved for use in the Settlement, and

the algorithm presented, has never been validated as an accurate way to detect cognitive impairment

in Black men with similar backgrounds (all the complex and intersecting experiences that comprise

this background) as the retired NFL players.

        10. A related difference in how neurocognitive tests are used under the NFL Concussion

Settlement, as I understand it, and how they are used in a clinical setting, is that the consequences of

false positives and false negatives are different. Every kind of diagnostic test can produce errors,

both false negatives and false positives. In clinical practice, it is important to be aware of the

sensitivity (the ability to detect true positives, meaning avoiding false negatives) and specificity



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(avoiding false positives). Tests in clinical practice are chosen, and cutoffs are adjusted, with an eye

to the harmful consequences of each kind of error. For example, screening tests for covid-19 must

consider the accuracy of the test in concert with the potential harms of a false positive result (e.g.,

the hassle and cost of having to take another test, unnecessary quarantine, and emotional distress)

and the potential public health impact of a false negative result (e.g., the person may unwittingly

expose others to the virus). For a different disease or context, even if the tests have the same

sensitivity and specificity, the balance of harms would be different. This balance should not only

take in to account the public health impact of false positives and false negatives, but should also

consider the prevalence of the condition in the population. If cognitive decline is more frequent in

the population of retired NFL players, as some studies suggest (Jeff Schaffert, Neuropsychological

functioning in ageing retired NFL players: a critical review, 32 Int’l Rev. of Psychiatry, 71-88, 2019),

even at the same level of sensitivity and specificity, the Negative Predictive Value (the probability

that players who do not meet the cuts truly don’t have cognitive impairment) will go down. In the

clinical setting, neuropsychologists deal with high or low base rates and potential harms of over- or

under-diagnosis by carefully considering which cutoff to use, deciding how wide the confidence

interval around each score should be, and also deciding how to weigh the test scores in the context

of other evidence of decline from prior levels of function.

        11. The impetus for developing demographic norms for neurocognitive testing is to reduce

the rate of false positive and false negative diagnoses of neurocognitive impairment for everyone,

and demographic adjustments can be especially useful in improving diagnostic accuracy of tests

when used among people with demographic backgrounds that are not in the majority within the

general population. As Dr. Millis states, it is standard clinical practice to use norms that consider

demographic background when determining presence and severity of cognitive impairment.

However, in my opinion, we lack scientific evidence that the Heaton norms decrease false negative



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results (improve sensitivity) in people with backgrounds similar to the NFL players. In other words,

there is insufficient evidence that the Heaton norms possess the level of precision that would be

needed to require their use in determination of eligibility for the Settlement. Neuropsychologists

who are experienced with assessment of Black adults may be willing to accept this imprecision in

their regular clinical practice, but only because they would never rely on the specific rules in Exhibit

A-2 of the Settlement to determine if someone was impaired. For example, a clinician who is

experienced using the Heaton norms within the last 5 to 10 years among Black men who are

graduates of top colleges in the Midwest of the United States, may not rule out impairment within

the memory domain if a player obtained a Heaton T-score of 36 on one memory measure and a T-

score of 37 on another. In clinical practice, neuropsychologists use their clinical judgement, consider

reports of significant decline in daily function and loss of independence, and use their knowledge of

the precision of the norms along with the pattern of results on neuropsychological testing, to

determine if impairment is present.



        I declare under penalty of perjury that the foregoing is true and correct.

                                        _____________________________

                                        Date: ___11/02/2020___________




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       Exhibit 1
   to Declaration of
Jennifer J. Manly, PhD
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                                   CURRICULUM VITAE



DATE PREPARED October 2020

PERSONAL DATA

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Birthplace: Dayton, Ohio, USA

Citizenship: USA

ACADEMIC APPOINTMENTS
08/1998-08/2006 Assistant Professor
                Cognitive Neuroscience Division, Taub Institute for Research on Alzheimer's
                Disease and the Aging Brain, the G.H. Sergievsky Center, and the Department
                of Neurology, Columbia University Medical Center, New York, NY

08/2006-08/2018 Associate Professor
                Cognitive Neuroscience Division, Taub Institute for Research on Alzheimer's
                Disease and the Aging Brain, the G.H. Sergievsky Center, and the Department
                of Neurology, Columbia University Medical Center, New York, NY

08/2018 - present Professor
                  Cognitive Neuroscience Division, Taub Institute for Research on Alzheimer's
                  Disease and the Aging Brain, the G.H. Sergievsky Center, and the Department
                  of Neurology, Columbia University Medical Center, New York, NY

HOSPITAL APPOINTMENTS
1998-present       Psychologist
                   New York Presbyterian Hospital, New York, NY

EDUCATION
09/1987-05/1991 Bachelor of Arts & Bachelor of Science
                University of California, Berkeley
                Major #1: Psychology
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                 Major #2: Integrative Biology

08/1991-06/1996 Doctorate
                University of California, San Diego/ San Diego State University
                   Joint Doctoral Program in Clinical Psychology
                Degree: Clinical Psychology
                Specialty Track: Neuropsychology
                Dissertation Topic: "The effect of African American acculturation on
                   neuropsychological test performance"
                Chairperson: Igor Grant, M.D.
                Publication: Manly, J.J., Miller, S.W., Heaton, R.K., Byrd, D., Reilly, J.,
                   Velasquez, R.J., Saccuzzo, D.P., Grant, I., & the HIV Neurobehavioral
                   Research Center (HNRC) Group. The effect of African American
                   acculturation on neuropsychological test performance in normal and HIV
                   positive individuals. Journal of the International Neuropsychological
                   Society 1998; 4: 291-302.

TRAINING
08/1995-08/1996 Clinical Psychology Intern
                Specialty Track: Neuropsychology
                Brown University Clinical Psychology Internship Training Consortium
08/1996–08/1998 Postdoctoral Research Fellow
                Specialty Track: Neuropsychology
                G.H. Sergievsky Center
                Columbia University College of Physicians and Surgeons

LICENSURE
Psychology: New York #013454-1

HONORS AND AWARDS
1989 – 1991     Dean's List; University of California, Berkeley
1994            Awarded the Dorathe Frick Memorial Award, for contribution to the
                 UCSD/SDSU Joint Doctoral Program in Clinical Psychology
1995            Paper presentation awarded a Presidential Citation at the 16th Annual Meeting
                 of the Society for Behavioral Medicine, San Diego, CA.
2003            Early Career Award, American Psychological Association Division 40
                 (Clinical Neuropsychology)
2005            Fellow, American Psychological Association Division 40 (Clinical
                 Neuropsychology)
2006            Early Career Award, National Academy of Neuropsychology
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2014              Tony Wong Diversity Award for Outstanding Mentorship, National Academy
                   of Neuropsychology
2020              Paul Satz-International Neuropsychological Society Career Mentoring Award

Invited Lectureships
1999    Invited Address, 107th Annual American Psychological Association Convention, Division
        40 (clinical Neuropsychology) “Deconstructing Race and Education: Lessons from
        Cross-Cultural Neuropsychology”, Washington, DC
2003    Distinguished Graduate Lecture in Neuropsychology, UCSD/SDSU Joint Doctoral
        Program in Clinical Psychology, “Race, Culture, and Education in Neuropsychology”,
        San Diego, CA
2006    1st Annual Norman R. Seay Lecture, “Memory & Aging Research in African
        Americans”, Washington University, St. Louis
2008    Invited Address, 116th Annual Convention of the American Psychological Association,
        “Cognitive Assessment of Ethnic Minorities: Deconstructing Race and Education”,
        Boston, MA
2011    Invited Address, American Psychological Association Division 40 (Clinical
        Neuropsychology), “Cognitive Aging among Caribbean Hispanic Immigrants”,
        Washington, DC
2012    Invited Plenary Address, Alzheimer’s Association International Conference, “Challenges
        for the detection of dementia in culturally, racially and ethnically diverse populations”,
        Vancouver, BC
2017    Invited Plenary Address, 125th Annual Convention of the American Psychological
        Association, “Lifecourse Mechanisms of Disparities in Cognitive Aging and Dementia”,
        Washington, DC
2017    National Institutes of Health, NIH Director’s Wednesday Afternoon Lecture Series,
        “Deconstructing lifecourse mechanisms of Alzheimer’s disease disparities”, Bethesda,
        MD

ACADEMIC SERVICE
Departmental and University Committees
2005 – 2010        Member, General Clinical Research Center Scientific Advisory Committee,
                   Columbia University
2012 – 2013        Member, Columbia University College of Physicians and Surgeons Strategic
                   Planning Taskforce on Research
2014 – 2018        Columbia University Press Advisory Board
2015               Faculty Engagement Advisory Committee Member, Columbia University
                   Medical Center
2015 – 2018        Core Faculty, “The Future of Aging Research” University Seminar
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2015 – 2020      Advisory Committee Member, Columbia University Presidential Scholars in
                 Society and Neuroscience Program
2017 – present   Member, Columbia University College of Physicians and Surgeons
                 Department of Neurology Research Committee
2018             Member, Search Committee, Director of the Robert N. Butler Columbia
                 Aging Center, Mailman School of Public Health (invited by Dean Linda
                 Fried)
2018 – 2020      Columbia University Irving Medical Center Dean's Advisory Committee for
                 Women Faculty (invited by Dean Lee Goldman)
2018 – present   Co-Chair, “The Future of Aging Research” University Seminar
2019 – present   Member, Columbia University Irving Medical Center’s Committee on
                 Appointments and Promotions
2020 -present    Member, Columbia University Faculty Liaison Network, National Academies
                 of Sciences, Engineering and Medicine's Action Collaborative on Preventing
                 Sexual Harassment
2020             Co-Chair, Columbia University Irving Medical Center Working Group on
                 Faculty Recruitment, Retention, Advancement, and Leadership

National Committees
2005 – 2007      National Board of Directors, Alzheimer’s Association
2011 – 2015      Member, Advisory Council on Alzheimer’s Research, Care, and Services
2012 – 2019      Member, Medical and Scientific Advisory Board, Alzheimer’s Association
2018 – present   Member, Committee on Population, the National Academy of Sciences,
                  Washington, DC
2019 – present   Member, Alzheimer’s Association International Research Grant Program
                  (IRGP) Council
2020 – present   Member, National Advisory Council on Aging

NIH Study Section Memberships
2001 – 2007      NIH Adult Psychopathology and Disorders of Aging (APDA) Study Section
2003             NIH ZRG SNEM-2 50 Special Emphasis Panel “Pathways Linking Education
                 to Health”
2017             NIH ZNS1 SRB G(15) Special Emphasis Panel “Detecting cognitive
                 impairment, including dementia, in primary care and other everyday clinical
                 settings for the general public and in health disparities populations”
2017 - 2020      Neurological, Aging and Musculoskeletal Epidemiology Study Section
                 (NAME)


Scientific Advisory Committees
2000 – 2019      External Advisory Board, Mayo Clinic Alzheimer’s Disease Research Center
                 (PI: R. Petersen).
2001 – 2008      External Advisory Board, Michigan Center For Urban African American
                 Aging Research (PI: J. Jackson and P. Lichtenberg).
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2005 – 2006      External Advisory Board, University of Arkansas for Medical Sciences
                 Alzheimer’s Disease Research Center (PI: C. Beck)
2005 – 2010      External Advisory Board, “Prospective community study of Mild Cognitive
                 Impairment”, University of Pittsburgh (PI: M. Ganguli)
2005 – 2009      WAIS-IV/WMS-IV Advisory Panel, Harcourt Assessment, Inc.
2006 – 2012      Consultant, IIRG-05-14532 (PI: K. Hawkins), “Neuropsychological Norms
                 for Older African Americans”
2006 – 2010      External Advisory Board, University of Alabama Birmingham Alzheimer’s
                 Disease Research Center (PI: D. Marson)
2014 – 2015      Collaborator, Revision of ICD-10 Diseases of the Nervous System chapter
                 and Mental and Behavioural Disorders chapter: “Disorders with
                 neurocognitive impairment” and “Neurocognitive disorders” sections
2015 – present   Executive Committee, REGARDS Study (Reasons for Geographic and Racial
                 Differences in Stroke Study)

PROFESSIONAL ORGANIZATIONS AND SOCIETIES
Local
2006 – 2014      Member, New York State Association of Neuropsychology

National
1995 – 2014       Member, American Psychological Association
1995 – present    Member, Society for Clinical Neuropsychology (APA Division 40)
2000 – 2008       Member, National Academy of Neuropsychology
2001             American Psychological Association – Division 40 Program Committee Co-
                  Chair
2002             American Psychological Association – Division 40 Program Committee Chair
2002 – 2005      Steering Committee, American Psychological Association Division 40 Ethnic
                     Minority Affairs Committee
2003 – 2006      American Psychological Association – Division 40 Member-at-Large
2005 - 2007      Member, American Psychological Association Committee on Ethnic Minority
                  Affairs
2006 – 2007      Member, American Psychological Association Integrated Health Care for an
                  Aging Population Presidential Task Force
2007 – 2012      American Psychological Association – Division 40 Council Representative
2007 - 2010      Member, American Psychological Association Board of Scientific Affairs
2011 – 2013      American Psychological Association – Division 45 Member-at-Large

International
1991 – present    Member, International Neuropsychological Society
2005 – 2012      Chair of Continuing Education Program, International Neuropsychological
                  Society
2012 – 2015      Member-at-Large, International Neuropsychological Society Board of
                  Governors
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2016 – 2019        Publications Committee Chair, International Neuropsychological Society
2017 – present      Member, International Society to Advance Alzheimer's Research and
                    Treatment

Journal Reviewer
Journal of the International Neuropsychological Society
The Clinical Neuropsychologist
Neuropsychology
Archives of Clinical Neuropsychology
Journal of Clinical and Experimental Neuropsychology
Alzheimer Disease and Associated Disorders
Aging, Neuropsychology, and Cognition
Developmental Science
Neurology
Psychology and Aging
Neuropsychologia
Journal of the American Geriatrics Society
JAMA Neurology
Alzheimer’s and Dementia
Journal of Alzheimer’s Disease

Editorial Boards
2003 – present      Consulting Editor, Journal of the International Neuropsychological Society
2001- 2008          Consulting Editor, The Clinical Neuropsychologist
2001- 2008          Consulting Editor, Neuropsychology
2004 – 2008         Consulting Editor, Archives of Clinical Neuropsychology
2004 – 2009         Consulting Editor, Journal of Clinical and Experimental Neuropsychology
2004 – 2015         Consulting Editor, Alzheimer Disease & Associated Disorders
2005 – 2014         Associate Editor, Journal of the International Neuropsychological Society
2019 – present      Consulting Editor, Psychology & Aging

FELLOWSHIP AND GRANT SUPPORT
Present:
07/01/18-06/30/23      Tau PET imaging in racially/ethnically diverse middle-aged adults
                       NIH/National Institute on Aging R01AG058067
                       (PIs: Brickman and Manly)
                       Direct Funds: $2,532,711
                       Role: MPI

04/01/18-03/31/23      Health and Retirement Study Yrs 29 - 34
                       NIH/NIA RFA-AG-18-005 (PI: Weir)
                       Direct funds: $144,624
                       Role: Co-investigator and PI of CU subcontract
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04/01/18-03/31/23     Child Maltreatment and Risk for Mild Cognitive Impairment and
                      Alzheimer's Disease
                      NIH/NIA PAR 15-356 (PI: Widom)
                      Direct funds: $2,129,830 (CU Subcontract)
                      Role: Co-investigator

04/01/18-03/31/23     Educational and Early Life Predictors of Mild Cognitive Impairment: New
                      Evidence
                      NIH/NIA PAR 15-356 (PI: Warren)
                      Direct funds: $420,152 (CU Subcontract)
                      Role: Co-investigator and PI of CU subcontract

04/01/18-03/31/23     Brief Research in Aging and Interdisciplinary Neurosciences (BRAIN)
                      T35 AG044303 (PIs: Mayeux, Manly, Hirano, & Noble)
                      Role: MPI

04/01/18 - 03/31/23   Columbia Center for Interdisciplinary Research on Alzheimer's Disease
                      Disparities (CIRAD)
                      NIH/NIA P30AG059303 (PIs: Manly/Luchsinger)
                      Role: MPI

01/01/18-12/31/23     Health and Retirement Study Yrs 29 - 34: Harmonized Cognitive
                      Assessment Protocol
                      NIH/NIA RFA-AG-18-005 (PI: Langa)
                      Direct funds: $72,312
                      Role: Co-investigator and PI of CU subcontract

12/01/17-11/30/22     VCID and Stroke in a Bi-racial National Cohort
                      NIH/ National Institute of Neurological Disorders and Stroke Parent R01
                      2U01NS041588-17 (PIs: Judd, Cushman, Howard and Manly)
                      Direct funds (CU subcontract): $1,541,891
                      Role: MPI

09/01/17-08/31/20     ARMADA: Advancing Reliable Measurement in Alzheimer’s Disease and
                      cognitive Aging
                      NIH/National Institute on Aging U2CAG057441-01 (Gershon/Weintraub)
                      $80,291 (Subaward – Northwestern; Y1 only)
                      Role: Co-investigator

08/01/17-05/31/22     Resilience Mechanisms Underlying Racial/Ethnic Disparities in
                      Alzheimer’s Disease
                      NIH/National Institute on Aging R01AG054520 (PIs: Brickman/Zahodne)
                      Direct funds: $788,638
                      Role: Co-investigator
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07/01/17-06/30/22    Blood Pressure control to reduce racial/ethnic disparities in cognitive
                     impairment and dementia
                     NIH/NINDS R01NS102715 (PI: Levine)
                     Direct funds: $192,044 (CU Subcontract)
                     Role: Co-investigator

09/15/16-08/31/21    School Quality and Racial Disparities in Alzheimer’s Disease in Project
                     Talent
                     NIH/National Institute on Aging R01AG056164 (PI: Manly)
                     Direct funds: $2,744,387
                     Role: PI

09/01/16-08/31/21    Genetic Epidemiology of Cerebrovascular Factors in Alzheimer's Disease
                     NIH/National Institute on Aging RF1AG054023 (PI: Mayeux)
                     Direct funds: $5,500,508
                     Role: Co-Investigator

07/01/16-06/30/21    Offspring Study of Mechanisms for Racial Disparities in Alzheimer's
                     Disease
                     NIH/National Institute on Aging RF1AG054070 (PIs: Manly/Brickman)
                     Direct funds: $5,771,857
                     Role: PI

03/15/16-02/28/21    Re-Visiting MCI and Preclinical AD Diagnosis to Inform Future
                     Biomarker Studies
                     NIH/National Institute on Aging R01AG049810 (PIs: Bondi/Edland)
                     Direct funds: $513,125 (CU Subcontract)
                     Role: Co-Investigator

Past:

1990                 NSF-funded Minority Research Scholar's Grant, for Undergraduate
                     Research in the Department of Psychology

1992-1995            Ford Foundation Predoctoral Fellowship
                     Role: Principal Investigator

09/01/96 – 05/31/99 Postdoctoral Research Supplement For Underrepresented Minorities
                    National Institute on Aging
                    Role: Principal Investigator

08/01/98 – 07/31/01 Prediction of Alzheimer’s Disease among African-American Elders
                    Alzheimer’s Association IIRA-98-020
                    Role: Principal Investigator

09/01/98 – 08/31/99 Endogenous Estrogens among Ethnically Diverse Elderly Women
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                     Pilot Grant from the Columbia Resource Center for Minority Aging
                     Research
                     National Institute on Aging P30 AG15294 (PI: R. Lantigua)
                     Role: Co-Investigator

02/01/99 – 01/31/02 Cognitive Test Performance among African American Elders
                    New York City Council Speaker’s Fund for Biomedical Research
                    CU 51356101
                    Direct Funds: $1,072,309
                    Role: Principal Investigator

09/01/00 – 08/31/01 English Fluency among Hispanic Elders
                    Pilot Grant from the Columbia Resource Center for Minority Aging
                    Research
                    National Institute on Aging P30 AG15294 (PI: R. Lantigua)
                    Role: Co-Investigator

11/01/02 – 10/31/05 Literacy and Alzheimer's Disease among African American, White, and
                    Hispanic Elders
                    Alzheimer’s Association Senator Mark Hatfield Award for Clinical
                    Research in Alzheimer's Disease HAT-02-3670
                    Role: Principal Investigator

11/01/03 – 10/31/05 Neuropsychological Tests as Predictors of Functional Decline in African
                    American, Hispanic and Caucasian Alzheimer Patients: A Retrospective
                    Study
                    Alzheimer’s Association New Investigator Research Grant (PI: D. Byrd)
                    Role: Co-Investigator

11/01/05 – 10/30/08 Cognition in the IDEATel Diabetes Trial
                    Alzheimer’s Association IIRG (PI: J. Luchsinger)
                    Role: Co-Investigator

04/01/00 – 03/31/09 Alzheimer's Disease Research Center at Columbia University
                    National Institute on Aging 2P50 AG08702 (PI: M. Shelanski)
                    Role: Co-Investigator

07/01/04 – 06/30/09 The Epidemiology of Dementia in an Urban Community
                    National Institute on Aging 5P01 AG07232 (PI: R. Mayeux)
                    Role: Clinical Core Leader

09/15/07 – 8/30/08   Cognitive and Functional Profiles of Mild Cognitive Impairment in
                     African American and Caucasian Samples (PI: D. Marson)
                     National Institute on Aging Supplement to 2P50 AG08702
                     Role: Co-Investigator
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07/01/99 – 08/30/10 Cognitive Test Performance of African American Elders
                    National Institute on Aging R01 AG16206
                    Role: Principal Investigator

11/01/05 – 05/31/10 Health and Cognition Among African American Women
                    Alzheimer’s Association IIRG 05-14236
                    Role: Principal Investigator

02/01/07-01/14/14     Columbia Center for the Health of Urban Minorities
                      NIH/National Center on Minority Health and Health Disparities P60
                      MD00206 (Luchsinger)
                      Role: Co-Investigator

09/15/07 – 06/30/13 Genetic Epidemiology of Alzheimer’s Disease among African Americans
                    NIH/National Institute on Aging R01 AG028786
                    Role: Principal Investigator

03/15/10 - 02/28/15   White Matter Hyperintensities in Aging and Dementia
                      NIH/ National Institute on Aging R01 AG034189 (Brickman)
                      Role: Co-investigator

05/01/10 - 04/30/15   Epidemiology of Biomarkers of Risk and Progression in LOAD
                      NIH/National Institute on Aging R01 AG037212 (PI: Mayeux)
                      Role: Co-Investigator

09/30/12-08/31/15     Interdisciplinary Lifecourse Approaches to African American Cognitive
                      Aging
                      NIH/National Institute on Aging R13
                      Role: Principal Investigator

04/01/12-03/31/16     Offspring of Ethnically Diverse People With and Without AD
                      Alzheimer’s Association IIRG-11-202789
                      Role: Principal Investigator

09/01/01-11/30/17     Etiology of Geographic and Racial Differences in Stroke (REGARDS)
                      NIH/National Institute of Neurological Disorders and Stroke
                      U01NS041588 (PI: Howard)
                      Direct Funds: $1,541,891
                      Role: Co-Investigator
                      Direct funds: $134,803
                      Role: PI

09/01/16-08/31/19     Psychosocial protective factors in cognitive and brain aging
                      NIH/National Institute on Aging R00AG47963 (PI: Zahodne)
                      Direct funds: $215,876
                      Role: Co-Investigator
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09/01/16 – 08/31/17 White Matter Hyperintensities in Aging and Dementia
                    NIH/National Institute on Aging R56AG034189 (PI: Brickman)
                    Direct funds: $495,931
                    Role: Co-Investigator

09/01/17-05/31/19     Biological aging in older HIV-infected African Americans
                      NIH/National Institute on Aging R21AG056175 (PIs: Arpadi, Yin)
                      Direct funds: $275,000
                      Role: Co-investigator

09/15/17-06/30/18     School Quality and Racial Disparities in Alzheimer’s Disease in Project
                      Talent – DNA Supplement
                      NIH/National Institute on Aging R01AG056164-01S1 (PI: Manly)
                      Direct funds: $120,759
                      Role: PI

09/15/17-06/30/18     School Quality and Racial Disparities in Alzheimer’s Disease in Project
                      Talent – Minority Oversampling Supplement
                      NIH/National Institute on Aging R01AG056164-01S2 (PI: Manly)
                      Role: PI

07/01/12-05/31/18     MRI, Genetic and Cognitive Precursors of AD and Dementia
                      NIH/National Institute on Aging R01AG016495 (PI: Au)
                      Direct Funds: $540,163
                      Role: Co-Investigator

Pending:
Early detection of semantic loss through psycholinguistic measures in preclinical Alzheimer's
disease
NIH/National Aging on Aging K99 AG066934 (Vonk)
Role: Mentor
Priority Score: 13

Factors of resilience to Alzheimer’s Disease and related dementias among Latinx: The role of
bilingualism
NIH/National Aging on Aging K99 AG066932-01 (Arce Rentería)
Role: Mentor
Priority Score: 26

Understanding the mechanisms linking small vessel cerebrovascular disease and Alzheimer's
disease pathophysiology with neurodegeneration and cognition during midlife
NIH/National Aging on Aging K99 AG065506-01 (Lao)
Role: Co-Mentor
Priority Score: 30
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EDUCATIONAL CONTRIBUTIONS

Direct Teaching/Precepting/Supervising

 1998-2015                 Faculty member T32 Postdoctoral Training Grant
                           Neuropsychology and Cognition in Aging (T32 AG0000261, PI: Y.
                           Stern)

 2009 - present            Lecturer
                           Cognitive Neuroscience of Aging
                           Doctoral level course
                           Psychology Department
                           Columbia University, New York, NY

 2006-Present              Clinical Supervisor
                           Neuropsychology practicum students and predoctoral interns
                           Memory and Aging Program
                           Department of Neurology
                           Columbia University

Advising and Mentorship
Fellows (primary mentor)
2001 - 2004       Desiree Byrd, PhD
2006 – 2008       Margarita Padilla, PhD
2012 – 2016       Laura B. Zahodne, PhD
2017 – 2018       Vanessa LaBode, PhD
2017 – present    Miguel Arce, PhD
2017 – present    Jet Vonk, PhD
2018 – present    Indira Turney, PhD
2019 – present    Dominika Seblova, PhD
2020 – present    Justina Avila, PhD

Fellows (secondary mentor)
2012 – 2015      Jaime Hamilton, PhD
Medical School Students
2015             Melanie Hundt, SUNY Upstate Medical University
2016 - 2020      Milou Angevaare, UMC Utrecht, Netherlands
2016             Gloria Felix, Michigan State University
2016             Elizabeth Dalchand, Stonybrook School of Medicine
2017 - 2020      Ramon Rodriguez, Columbia University College of Physicians and Surgeons
2018             Marjorie Diaz, New York Medical College
2020             Danny Pohl, Columbia University Vagelos College of Physicians and
                 Surgeons
2020             Yasmin Issari, Columbia University Vagelos College of Physicians and
                 Surgeons
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2020                Juliana Castrillon, Columbia University Vagelos College of Physicians and
                    Surgeons


Graduate Students
2016 - 2017         Laiss Bertola, Federal University of Minas Gerais, Brazil
2016 – 2018         Batool Rizvi, Neuroscience and Education, Teachers College
2017 – 2018         Lily Kamalyan, Clinical and Counseling Psychology, Teachers College
2017 – 2019         Sonia Seehra, Institute of Human Nutrition, Columbia University
2018 – 2019         Krystal Laing, Clinical and Counseling Psychology, Teachers College
2018 – 2019         Shana Samuel, Clinical and Counseling Psychology, Teachers College
2018 – 2019         Roxanna Flores, Clinical and Counseling Psychology, Teachers College
2018 – 2019         Dayanara Rosado, Clinical and Counseling Psychology, Teachers College
2018 – 2020         Gelan (Lana) Ying, Clinical and Counseling Psychology, Teachers College

Doctoral Dissertation committees
2001                Committee Member for Stephan Kennepohl, Ph.D., University of Windsor
2003                Committee Member for Pegah Touradji, Ph.D., Columbia University
2006                Committee Member for Seta Kazandjian, Ph.D., City University of New York
2011                Committee Member for Shawnda Lanting, Ph.D., University of Saskatchewan
2018                Committee Member for Kirsten Frazer, Columbia University
2018                Committee Member for Justina Avila, University of New Mexico

Undergraduate Students
2016 – 2020      Michelle Martinez
2016 - 2017      Erika Onigo
2017 - 2020      Nia Barbee
2017 - 2020      Juliet Colon
2017 – 2020      Carolyn Qian
2018 – 2019      Patricia Ansah
2018 – 2020      Kailande Cassamajor
2018 – 2019      Gricelda Weed

High School Students
2018             Katia Kovrizhkin

PUBLICATIONS

Original, Peer Reviewed Articles:

1.     Ying, G, Vonk, JMJ, Sol, K, Brickman, AM, Manly, JJ, Zahodne, LB. (in press). Family
       ties and aging in a multiethnic cohort. Journal of Aging & Health.
2.     Fox, RS, Manly, JJ, Slotkin, J, Devin Peipert, J, Gershon, RC. (in press). Reliability and
       validity of the Spanish-language version of the NIH Toolbox. Assessment.
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3.    Rizvi, B., Lao, P.J., Colón, J., Hale, C., Igwe, K.C., Narkhede, A., Budge, M., Manly, J.J.,
      Schupf, N., Brickman, A.M. (in press) Tract-defined regional white matter hyperintensities
      and memory. NeuroImage: Clinical.
4.    Zahodne, LB, Sharifian, N, Kraal, AZ, Sol, K, Zaheed, AB, Manly, JJ, Brickman, AM. (in
      press). Positive psychosocial factors and cognitive decline in ethnically diverse older
      adults. Journal of the International Neuropsychological Society.
5.    Stamm, BC, Lao, PJ, Rizvi, B, Colon, J, Igwe, K, Chesebro, AG, Maas, B, Schupf, N,
      Mayeux, R, Manly, JJ, Brickman, AM. (in press). Parental history of dementia is
      associated with increased small vessel cerebrovascular disease. The Journals of
      Gerontology: Series A.
6.    Avila, JF, Arce Rentería, M, Jones, RN, Vonk, JMJ, Turney, I, Sol, K, Seblova, D, Arias,
      F, Hill-Jarrett, T, Levy, SA, Meyer, O, Racine, AM, Tom, SE, Melrose, RJ, Deters, K,
      Medina, LD, Carrión, CI, Díaz-Santos, M, Byrd, DR, Chesebro, A, Colon, J, Igwe, KC,
      Maas, B, Brickman, AM, Schupf, N, Mayeux, R, Manly, JJ. (in press). Education
      differentially contributes to cognitive reserve across racial/ethnic groups. Alzheimer’s &
      Dementia.
7.    Gustafson, DR, Bäckman, K, Scarmeas, N, Stern, Y, Manly, JJ, Mayeux, R, Gu, Y. (in
      press). Dietary fatty acids and risk of Alzheimer's disease and related dementias:
      Observations from the Washington Heights-Hamilton Heights-Inwood Columbia Aging
      Project (WHICAP). Alzheimer’s & Dementia.
8.    Gershon, RC, Fox, RS, Manly, JJ, Mungas DM, Nowinski, CJ, Roney, EM, Slotkin, J.
      The NIH Toolbox: Overview of development for use with Hispanic populations. Journal of
      the International Neuropsychological Society, 2020; 26:567-575.
9.    Levine, DA, Gross, AL, Briceño, EM, Tilton, N, Kabeto, MU, Hingtgen, SM, Giordani, BJ,
      Sussman, JB, Hayward, RA, Burke, JF, Elkind, MSV, Manly, JJ, Moran, AE, Kulick, ER,
      Gottesman, RF, Walker, KA, Yano, Y, Gaskin, DJ, Sidney, S, Yaffe, K, Sacco, RL,
      Wright, CB, Roger, VL, Allen, NB, Galecki, AT. Association between blood pressure and
      later-life cognition among Black and White individuals. JAMA Neurology, 2020; 77:810-
      819.
10.   Turney, IC, Chesebro, AG, Rentería, MA, Lao, PJ, Beato, JM, Schupf, N, Mayeux, R,
      Manly, JJ, Brickman, AM. APOE ε4 and resting-state functional connectivity in
      racially/ethnically diverse older adults. Alzheimers & Dementia. 2020;12:e12094.
11.   Kulick, ER, Wellenius, GA, Boehme, AK, Joyce, NR, Schupf, N, Kaufman, JD, Mayeux,
      R, Sacco, RL, Manly, JJ, Elkind, MSV. Long-term exposure to air pollution and
      trajectories of cognitive decline among older adults. Neurology, 2020; 94(17):e1782-
      e1792.
12.   Kulick, E., Elkind, M.S.V., Boehme, A.K., Joyce, N.R., Schupf, N., Kaufman, J.D.,
      Mayeux, R., Manly, J.J., Wellenius, G.A. Long-term exposure to ambient air pollution,
      APOE-ɛ4 status, and cognitive decline in a cohort of older adults in northern Manhattan.
      Environment International, 2020; 136:105440.
13.   Brenowitz, W.D., Manly, J.J., Murchland, A.R., Nguyen, T.T., Liu, S.Y., Glymour, M.M.,
      Levine, D.A., Crowe, M., Hohman, T.J., Dufouil, C., Launer, L. J., Hedden, T., Eng, C.,
      Wadley, V.G., Howard, V.J. State school policies as predictors of physical and mental
      health: a natural experiment in the REGARDS cohort. American Journal of Epidemiology,
      2020; 189:384-393.
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14.   Avila, J. F., Arce Rentería, M., Witkiewitz, K., Verney, S. P., Vonk, J. M. J., & Manly,
      J.J. Measurement invariance of neuropsychological measures of cognitive aging across
      race/ethnicity by sex/gender groups. Neuropsychology, 2020; 34: 3 - 14.
15.   Langa, K.M., Ryan, L.H., McCammon, R.J., Manly, J.J., Levine, D.A., Sonnega, A.,
      Farron, M., & Weir, D.R. The Health and Retirement Study Harmonized Cognitive
      Assessment Protocol Project. Study Design and Methods. Neuroepidemiology, 2020;
      54:64-74.
16.   Sharifian, N., Gu, Y., Manly, J.J., Schupf, N., Mayeux, R., Brickman, A.M., Zahodne,
      L.B. Linking depressive symptoms and cognitive functioning: the mediating role of leisure
      activity. Neuropsychology, 2020; 34:107-115.
17.   Nicoli, CD, Howard, VJ, Judd, SE, Struck, J, Manly, JJ, Cushman, M. Pro-
      Neurotensin/Neuromedin N and risk of cognitive impairment in a prospective study.
      Journal of Alzheimer’s Disease, 2020; 76:1403-1412.
18.   Zahodne, L.B., Sharifian, N., Manly, J.J., Sumner, J. A., Crowe, M., Wadley, V.G.,
      Howard, V.J., Murchland, A.R., Brenowitz, W.D., & Weuve, J. Life course
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Published Abstracts (available upon request)

INVITED AND PEER-SELECTED PRESENTATIONS
2017    Mid-Year Meeting of the International Neuropsychological Society, “Mechanisms of
        Disparities in Alzheimer’s Disease”, Cape Town, South Africa
2017    Alzheimer’s Association International Conference, “Racial Disparities in Dementia
        Determinants and Outcome”, London, England
2017    Alzheimer’s Association International Conference, “Offspring Study of Racial
        Disparities in Alzheimer’s Disease”, London, England
2017    45th Annual Meeting of the International Neuropsychological Society, “Collaboration of
        Neuropsychologists in the Americas Can Accelerate Progress in Research and Practice”,
        New Orleans, LA
2016    Wisconsin Alzheimer’s Institute Annual Meeting, “Disparities in Alzheimer’s Disease”,
        Madison, WI.
2014    42nd Annual Meeting of the International Neuropsychological Society, “Ethical, Clinical,
        and Research Considerations for Cultural Neuropsychology”, Seattle, WA
2013    Alzheimer’s Association Research Roundtable, “Cultural Implications of Measuring
        Function and Cognition”, Washington, DC
2012    Alzheimer’s Association International Conference Plenary, “Challenges for the detection
        of dementia in culturally, racially and ethnically diverse populations”, Vancouver, BC
2011    University of Rhode Island Psychology Department. “Race, Culture and Education
        among Older Adults: Relationships to Cognitive Aging and Risk for Alzheimer's
        Disease”, Kingston, RI
2011    New York University Alzheimer’s Disease Center, Center of Excellence on Brain Aging
        Scientific Colloquium, “Alzheimer’s Disease and Cognitive Impairment among
        Ethnically and Educationally Diverse Older Adults”, New York, NY
2011    New York Neuropsychology Group Spring Conference, “Culture and Quality of
        Education in Neuropsychological Assessment”, New York, NY
2011    New York City Chapter of the Alzheimer’s Association, Black History Month Dinner,
        “Importance of Participation in Research on Aging and Memory among African
        Americans”, New York, NY
2011    New Jersey Neuropsychological Society Fall Conference, “Race, Culture and Education:
        Relationships to Cognitive Aging and Risk for Alzheimer's Disease”, Union Township,
        NJ
2011    Dana Alliance for Brain Initiatives and the AARP, “Staying Sharp: Ask the Experts”,
        New York, NY
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2011    Columbia University Medical Center Child Psychiatry T32 Fellowship Seminar, “The
        Role of Race, Culture, and Education in Neuropsychological Assessment”, New York,
        NY
2011    American Psychological Association Division 40 (Clinical Neuropsychology) Invited
        Address, “Cognitive Aging among Caribbean Hispanic Immigrants”, Washington, DC
2010    University of Wisconsin, Madison, Alzheimer’s Disease Research Center and Madison
        VA Hospital GRECC, “The Effects of Culture and Education on Cognitive Aging and
        Risk for Alzheimer's Disease”, Madison, WI
2010    NIH State-of-the-Science: Preventing Alzheimer's Disease and Cognitive Decline, “Risk
        Reduction Factors for Alzheimer's Disease and Cognitive Decline in Older Adults:
        Sociocultural and Demographic Factors”, Washington, DC
2010    NIA Conference on Assessment of Cognition in Early Dementia, “Research
        Considerations for Assessment of Cognitive Function among Diverse Older Adults”,
        Washington, DC
2010    National Institute on Aging Summer Institute on Aging Research, “Cognitive Test
        Performance of African American Elders”, Wye River, MD
2010    National Advisory Council on Aging Task Force on Minority Aging and Health
        Disparities, “Informed Consent for Genetic and Cognitive Research among African
        American Older Adults”
2010    Columbia University Medical Center Department of Neurology Grand Rounds,
        “Cognitive Aging and Alzheimer's Disease among African Americans”, New York, NY
2010    Brown University Medical Center Department of Psychiatry Grand Rounds, “Race,
        Culture and Education among Older Adults: Relationships to Cognitive Aging and Risk
        for Alzheimer's Disease”, Providence, RI
2010    Binghamton University, State University of New York, Department of Psychology
        Colloquium, “Race, Culture and Education: Relationships to Cognitive Aging and Risk
        for Alzheimer's Disease”, Binghamton, NY
2010    8th Annual Symposium on Early Alzheimer's Disease, “Assessment of Cognitive
        Impairment among Ethnic Minorities”, Miami, FL
2009    University of Arizona, ARL Division of Neural Systems, Memory and Aging, Evelyn F.
        McKnight Brain Institute, “Race, Language, Education, and Cognitive Aging”, Tucson,
        AZ
2009    National Institute on Aging Summer Institute on Aging Research, “Race, Language,
        Education, and Cognitive Aging”, Wye River, MD
2009    Emory University Department of Neurology and Alzheimer’s Disease Research Center,
        “Race, Language, Education, and Cognitive Aging”, Atlanta, GA
2009    Deep South Resource Center for Minority Aging Research, University of Alabama
        Birmingham and Tuskegee University, “Cognitive Aging and Dementia among African
        American Older Adults”, Tuskegee, AL
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2008    National Institute on Aging Summer Institute on Aging Research, “Cognitive Test
        Performance among African American Elders”, Wye River, MD
2008    Nassau University Medical Center, “Deconstructing Race and Ethnicity: Implications for
        Health Outcomes”, East Meadow, NY
2008    John Jay College of Criminal Justice, Department of Psychology, “Measurement of
        Cognitive Ability among African Americans”, New York, NY
2008    Eighth Annual Early Stage Memory Disorders Forum, NYC Alzheimer’s Association,
        “Alzheimer’s Disease among African Americans”, New York, NY
2008    Challenges in the Neuropsychological Assessment of Ethnic Minorities: A Problem
        Solving Summit, “Deconstruction of race for neuropsychology: Acculturation, quality of
        education, and genetic markers”, Waikoloa, HI
2008    Boston University School of Medicine, “Race as a Variable in Neuropsychology”,
        Boston, MA
2008    28th Annual Conference of the National Academy of Neuropsychology, “Critical Issues
        in Cultural Neuropsychology: Theoretical and Empirical Bases for Clinical Practice”,
        New York, NY
2007    University of Virginia, “Educational Experience, Cognitive Aging, and Alzheimer's
        Disease among African American Elders”, Charlottesville, VA
2007    University of British Columbia, “Deconstruction of Race and Education in Cognitive
        Assessment”, Vancouver, BC, Canada
2007    University of Alabama at Birmingham, “Stigma and Disparities: Alzheimer’s in the
        African American Community”, Birmingham, AL
2007    Oregon Health Sciences University, “Are African Americans at higher risk for
        Alzheimer's Disease?”, Portland, OR
2007    New York University Center for Brain Health, “Cognitive Aging and Alzheimer’s
        Disease in African Americans”, New York, NY
2007    National Institute on Aging Summer Institute on Aging Research, “Cognitive Aging and
        Alzheimer’s Disease among African Americans”, Wye River, MD
2007    National Institute on Aging Cognitive Aging Summit, “Quality of Education and
        Cognitive Aging among African American Elders”, Washington DC
2007    Florida State University, “Deconstruction of Race and Education for Neuropsychological
        Studies of African Americans and Hispanics”, Tallahassee, FL
2006    University of Southern California, Dementia Assessment Among Ethnic Minority Elders
        USC – Education Conference
2006    University of California: San Diego, “Cognitive Aging and Alzheimer’s Disease Among
        Ethnically Diverse Elders”, San Diego, CA
2006    University of California: Los Angeles, “Literacy, Cognition, and Dementia Among
        Ethnically Diverse Elders”, Los Angeles, California
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2006    New York Academy of Sciences, Psychology Section Lecture, “Deconstruction of Race
        and Education for Research on Cognitive Aging and Alzheimer's Disease”, New York,
        NY
2006    National Institute on Aging Summer Institute on Aging Research, “Race As a Research
        Variable in Neuropsychology”, Wye River, MD
2006    Delta Sigma Theta Sorority, Inc., New Bern Chapter, “The Silent Epidemic: Alzheimer’s
        Disease in African Americans”, New Bern, NC
2006    Boston University Medical Center, “The Role of Cultural and Educational Experience in
        Detection of AD and Risk for Cognitive Decline Among Ethnically Diverse Elders”,
        Boston, MA
2006    Alzheimer’s Association Care Conference, “Diversity in Dementia Care”, Atlanta, GA
2005    University of Washington - Seattle, Friday Harbor Psychometrics Workshop, “Cultural
        and Demographic Influences on Neuropsychological Test Scores”, Friday Harbor,
        Washington
2005    University of Virginia, “Literacy, Cognition, and Dementia Among Ethnically Diverse
        Elders”, Charlottesville, VA
2005    University of Arkansas for Medical Sciences Alzheimer’s Disease Center,
        “Neuropsychological Testing among African American Elders”, Little Rock, Arkansas
2005    Oregon Health Sciences University, Layton Aging and Alzheimer’s Disease Center,
        “Alzheimer’s Disease among African Americans”, Portland, OR
2005    National Multicultural Conference and Summit 2005, “The Impact of Educational and
        Cultural Experience on Interpretation of Cognitive Test Scores”, Los Angeles, CA
2005    International Psychogeriatric Association 12th International Congress, “Race, Culture,
        Education, and Cognition among Diverse Elders”, Stockholm, Sweden
2005    International Conference on the Future of Cognitive Aging Research, “Race, Culture,
        Education, and Neuropsychological Test Performance”, State University, Pennsylvania
2005    3rd Annual Mild Cognitive Impairment Symposium, “MCI among Ethnically Diverse
        Elders”, Miami, FL
2005    University of Southern California, “Culture and Cognitive Test Performance”, Los
        Angeles, CA
2004    Wayne State University Institute of Gerontology, “Deconstruction of race and education
        in research on cognitive function”, Detroit, MI
2004    Northern California Neuropsychology Forum, “Diversity in Neuropsychological Testing:
        Issues with African American and Latino Populations”, San Francisco, CA
2004    Massachusetts Neuropsychological Society, “Deconstructing Race and Education:
        Lessons from Cross-Cultural Neuropsychology”, Boston, MA
2004    Kessler Medical Rehabilitation Research and Education Corporation, “Cognitive Test
        Performance among African Americans and Hispanics”, West Orange, NJ
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2004    Fordham University Department of Psychology, “Race, Education, and Cognitive Test
        Performance”, New York, NY
2004    Duke University Medical School Bryan Alzheimer's Disease Research Center, “Detection
        of Alzheimer’s Disease among African Americans”, Durham, NC
2004    Columbia University School of Social Work, “Minority Health Disparities”, New York,
        NY
2004    Colorado Neuropsychological Society, “Diversity in Neuropsychological Testing:
        African American Populations”, Denver, CO
2004    5th Annual HealthEast Brain Injury Conference, “Diversity in Neuropsychological
        Testing”, St. Paul, MN
2004    25th Annual Conference of the New York Neuropsychology Group, “Deconstructing
        Race and Education: Lessons for Neuropsychology”, New York, NY
2002    Washington University, “African American Neuropsychology”, St. Louis, MO
